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                                                                                      PLEASE REPLY TO:
                                                                                    LONG ISLAND OFFICE
                                                                                      53 GIBSON STREET
                                                                                   BAY SHORE, NY 11706
                                                                                       Tel: (631) 969-3100

January 7, 2016

Hon. Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601-4140

       Re:     Debtor: Roy Albers aka Roy L. Albers
               Case No.: 15-22732-rdd
               Our File No.: 01-060666-B00


Dear Judge Drain:

This firm represents Hudson City Savings Bank, FSB c/o Bank of America, NA (hereinafter
“BANA”), a secured creditor in connection with the above-referenced loss mitigation matter. Please
allow this letter to serve as a status update ahead of the January 13, 2016 status conference.


As indicated in a prior status letter filed on October 7, 2015, as October 7, 2015, BANA was in need
of the following items to continue to review Debtors’ account for loss mitigation:

       (i)     Borrower and Co Borrower to provide 2014 Tax Returns, signed and dated, with all
               pages and Schedules;
       (ii)    Borrower and Co Borrower to provide all asset account statements, with all pages
               even if blank, and bank statements for the accounts listed as direct deposit on
               paystubs; and
       (iii)   Borrower and Co Borrower to provide SSI award letter or proof of receipt.

On October 29, 2015, Debtors’ counsel provided the bank statements and tax returns and thereafter
on November 16, 2015, I advised Debtors’ counsel the following was still needed:

       (i)     Borrower and Co Borrower to provide signed and dated Letter of Explanation
               explaining if pension income listed on 1040 was a one-time distribution or
               ongoing income. If ongoing; award letter and proof of receipt needed.
       (ii)    Borrower and Co Borrower to provide SSI awards letter.

On December 30, 2015, I received a Social Security Statement and Letter of Explanation
regarding the pension income from Debtors’ counsel and forwarded them to BANA. At the
current time same are under review.

In light of the delay in receiving documents, previously submitted documents may have expired
and will need to be updated and/or additional documents may be needed to verify income. I will
advise Debtors’ counsel of any additional documents needed as soon as I am advised of same.
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Please feel free to contact me with any questions or concerns.

Very truly yours,
Frenkel Lambert Weiss Weisman & Gordon, LLP

BY:    /s/ Michelle C. Marans
       Michelle C. Marans, Esq.
       Counsel to Secured Creditor

cc:    Jeffrey Sapir (via ecf)
       H. Bruce Bronson, Jr., Esq., Counsel for the Debtor (via ecf)
